                   Case: 3:22-cv-00444-jdp Document #: 1-1 Filed: 08/17/22 Page 1 of 22




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 25240726
Notice of Service of Process                                                                            Date Processed: 07/19/2022

Primary Contact:           Andrew Akey
                           Menard, Inc.
                           5101 Menard Dr
                           Eau Claire, WI 54703-9604

Electronic copy provided to:                   Emily Hawke-James
                                               Jim McMenomy
                                               Meghan Olson
                                               Todd Lemanski
                                               Brianna Varanko

Entity:                                       Menard, Inc.
                                              Entity ID Number 0033810
Entity Served:                                Menard, Inc.
Title of Action:                              Pilar Pomer and on behalf of all others similarly situated vs. Menard, Inc.
Matter Name/ID:                               Pilar Pomer and on behalf of all others similarly situated vs. Menard, Inc.
                                              (12580237)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Class Action
Court/Agency:                                 Eau Claire County Circuit Court, WI
Case/Reference No:                            2022CV000345
Jurisdiction Served:                          Wisconsin
Date Served on CSC:                           07/19/2022
Answer or Appearance Due:                     45 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Hawks Quindel, S.C.
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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
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STiATE OF WISCONSIN                                         CIRCUIT COURT                                       EAU CLAIRE           07-14-2022
Pilar pomer vs. Menard, Inc.                                                                                                         Clerk of Circuit Court
                                                                                            Electronic Filing
                                                                                                                                     Eau Claire County, WI
                                                                                                 Notice
                                                                                                                                     2022CV000345
                                                    Case No. 2022CV000345
                                                                                                                                     Honorable Michael A
                                                    Class Code: Other-Contract                                                       Schumacher
                                                    _--~ w                                                                           Branch 2



                                    MENARD, INC.
                                    5101 MENARD DRIVE
                                    EAU CLAIRE WI 54703




                 Case number 2022CV000345 was electronically filed with/converted by the Eau_-CI`re       C ounty
                 Circuit Court office. The electronic filing system is designed to allow for fast,-riable
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                 of documents in court cases.                                          ~~      ~('        ~~ t ~',,~

                 Parties who register as electronic parties can file, receive and view f~'`       e.   ...
                                                                                          do~Cuments~online~through
                 the court electronic filing website. A document filed electronicall.'y>has the,samele
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                 a document filed by traditional means. Electronic parties are responsible.;for serving
                 non-electronic parties by traditional means.                                  ~
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                 You may also register as an electronic parGyby following,the     instructions found at
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                 http://efiling.wicourts.gov/ and may~.withdr`aw~as~an~eiectr-onic party at any time. There is a
                 $20.00 fee to register as an eleetronic•:party. This fee may be waived if you file a Petition for
                 Waiver of Fees and Costs Affid`avit of Intligency..(CV1-410A) and the court finds you are
                 indigent under §814.29 Wisconsin~Statutes.r`~

                 If you are not repres`ented!by an~ttorn."ey and would like to register an electronic party, you
                 will need to ente the4following-~codeon the eFiling website while opting in as an electronic
                 party. g~ ,..     ~   \~

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                                        ster as an electronic party, you will be served with traditional paper documents
                                         and by the court. You must file and serve traditional paper documents.

                 Registration is available to attorneys, self-represented individuals, and filing agents who are
                 authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                 agency, corporation, or other group. Non-attorney individuals representing the interests of a
                 business, such as garnishees, must file by traditional means or through an attorney or filing
                 agent. More information about who may participate in electronic filing is found on the court
                 website.

                 If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                 715-839-4816.

                                                                                   Eau Claire County Circuit Court
                                                                                   Date: July 14, 2022

                    PROCESS SERVER

       71!°I~TZ                      f -S4S~
                     DATE       !     TIME

GF-180(CCAP), 11/2020 Electronic Filing Notice
                                                                                                                                     §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
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                                                                                Clerk of Circuit Court
                                                                                Eau Claire County, WI
    STATE OF WISCONSIN CIRCUIT COURT EAU CLAIRE COUNTY                          2022CV000345
                                                                                Honorable Michael A
                                                                                Schumacher
                                                                                Branch 2
    PILAR DOMER
    on behalf of herself and all others
    similarly situated
    3339 Michigan Street
    Hobart, IN 46342                                      Case No.: 22-cv-
                                                          Case Code: 30303
            Plaintiff,
                                                          JURY TRIAL DEMANDED
    V.

    MENARD, INC.
    5101 Menard Drive
    Eau Claire, WI 54703

            Defendant.


                                          SUMMONS


    THE STATE OF WISCONSIN, To each person named above as a Defendant:

            You are hereby notified that the Plaintiff named above has filed a lawsuit or

    other legal action against you. The Complaint, which is attached, states the nature

    and basis of the legal action.

             Within forty-five (45) days of receiving this Summons, you must respond with

    a written answer, as that term is used in chapter 802 of the Wisconsin Statutes, to

    the Complaint. The court may reject or disregard an answer that does not follow the

    requirements of the statutes.
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      The answer must be sent or delivered to the court, whose address is Eau Claire

County Courthouse, 721 Oxford Avenue, Eau Claire, WI 54703 and to Hawks

Quindel, S.C., Plaintiff"s attorneys, whose address is 409 East Main Street, Madison,

WI 53703. You may have an attorney help or represent you.

      If you do not provide a proper answer within forty-five (45) days, the court may

grant judgment against you for the award of money or other legal action requested in

the Complaint, and you may lose your right to object to anything that is or may be

incorrect in the Complaint. A judgment may be enforced as provided by law. A

judgment awarding money may become a lien against any real estate you own now

or in the future, and may also be enforced by garnishment or seizure of property.

      Dated this 14th day of July, 2022.

                                HAWKS QUINDEL, S.C.
                                Attorneys for Plaintiffs and the proposed classes


                                By: /s/Nicholas E. Fairweather
                                Nicholas E. Fairweather, State Bar No.: 1036681
                                Email: nfairweather@hq-law.com
                                409 East Main Street
                                Post Office Box 2155
                                Madison, Wisconsin 53701-2155
                                Telephone: (608) 257-0040
                                Facsimile: (608) 256-0236




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                            KALIELGOLD, PLLC
                            Jeffrey D. Kaliel*
                            Email: jkaliel@kalielpllc.com
                            Sophia Goren Gold*
                            Email: sgold@kalielgold.com

                            1100 15th Street NW, 4th Floor
                            Washington, DC 20005

                            950 Gilman Street, Suite 200
                            Berkeley, CA 94710
                            Telephone: (202) 350-4783

                            * Pro hac vice application to be filed

                            AttorneysforPlaintiffand theproposed classes




                                     3
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                                                                             Clerk of Circuit Court
                                                                             Eau Claire County, WI
STATE OF WISCONSIN CIRCUIT COURT EAU CLAIRE COUNTY                           2022CV000345
                                                                             Honorable Michael A
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                                                                             Branch 2
PILAR DOMER
on behalf of herself and all others
similarly situated
3339 Michigan Street
Hobart, IN 46342                                      Case No.: 22-cv-
                                                      Case Code: 30303
        Plaintiff,
                                                      JURY TRIAL DEMANDED
V.

MENARD, INC.
5101 Menard Drive
Eau Claire, WI 54703

        Defendant.


                            CLASS ACTION COMPLAINT


        Plaintiff, Pilar pomer, on behalf of herself and all others similarly situated,

complains and alleges upon information and belief based, among other things, upon

the investigation made by Plaintiff and through her attorneys as follows:

                                NATURE OF ACTION

         1.    This is a proposed class action seeking monetary damages, restitution,

and injunctive and declaratory relief from Defendant, Menard, Inc. ("Menard's" or

"Defendant"), arising from its deceptive bait-and-switch scheme of covertly adding a

 $1.40 fee for each product ordered on its website for in-store pickup. For example, if

 a customer orders a can of paint, a paintbrush, some masking tape, and a drop cloth

 for pickup in-store, Menard's will assess a fee of $5.60 in addition to the listed

 purchase price of the item.
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          2.      Upon information and belief, Menard's is the only major retailer in the

    U.S. to charge its customers for picking up items in its storesL—in other words, to

    charge a fee for a Menard's employee to move an item from one part of the Menard's

    store to another part of the same store.

          3.      Worse, Menard's never reasonably informs its online customers of this

    add-on fee.

          4.      Rather, Menard's website provides prominent price displays for each of

    its products. Reasonable consumers like Plaintiff understand those are the true and

    complete prices for the products, exclusive of government-imposed taxes and

    discounts that a customer may be eligible for.

           5.     But Menard's website prices are not the true prices for those products.

    In fact, the true prices are all $1.40 higher than listed. That is because after

    consumers select items based on listed prices, and after the purchase process is

    substantially complete, Defendant surreptitiously imposes an additional $1.40 per

    item. This late addition of the $1.40 per item fee substantially changes the in-store

    prices upon which Plaintiff and other purchasers rely while shopping.

           6.     Worse, the add-on fee is never reasonably disclosed to consumers.

    Indeed, and as occurred with Plaintiff, the fee is simply added to an order total with

     no further explanation:




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Below is a.summary of your order:
' Shipping Group 1                                   t VALPARAISO                                                             ;
                                                       351 SILHAVY RD                                                         ;
'          • Order #:-VALP.32776
~          • Plck lJp Af Store                       i'VALPARAISQ , IN 46383                                                  ~
.                                                                                                                             j
                                                                                                        -----~
:                            Description                            Quantity       ;         Status                Price      ;
        Pittsburgh,Palnts & Stains(D Paramount® Exterior
        Fiat Guacamole Paint 8~ Primet -1 qt.              ~           1           F       Processed         i     $22.98
        Model Number. GUACAMOLE_MEN7173-                   ~                       ;
~—PA
"4   EX7 FL_04                                             ~    -                -•
                                                                                   t                                        -..
                                                                                                   -   ---------

:OrderSummary:
    Order Corifirrnation Number : 28832451                                  -Credit Card: Visa "
    Order Date: 0412212021                                              :Billing Aildtess:
;   TrarisacGon ID: 9120                                                     Pilar Domer•                                     ~
{   Register ID: 78                                                                                                           ?
% Subtota1:524.38
    Tax: $1.71
I                                                                       ~   Phone                                            'a
    ~      Order Total: $26.09
    .                                                                   :                                                     .

               7.        Based on this order receipt, Plaintiff in fact had no idea she had been

assessed an add-on fee of $1.40 at all.

               S.        In short, the add-on fee disguises a simple truth from Menard's

customers like Plaintiff: Menard's wanted to raise prices on all of its products,

uniformly, without appearing to have done so.

               9.        Of course, Menard's is free to raise prices as much as it chooses and for

whatever reasons it chooses. However, raising prices under the guise of an add-on fee

was a deceptive bait and switch: here, the company raised prices without actually

changing its listed prices on the website, in order to make its products appear less

expensive than they actually were.

                10.       Defendant's double-edged deception—first, touting website prices that

    are false; second, never reasonably disclosing the add-on fee until after a purchase is

    complete (and only then, in a subtly inflated price on a receipt)—gives it an unfair

    advantage over honest sellers in the marketplace. The double-edged deception makes

    it impossible for consumers to comparison shop meaningfully, and hinders the
                                                                 3
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    operation of a free and fair marketplace.

          11.    Plaintiff seeks damages and, among other remedies, injunctive relief

    that fairly allows customers to decide whether they will pay Menard's true product

    prices, after the add-on fee is added.

                                PARTIES, JURISDICTION, VENUE

          12.    Plaintiff, Pilar pomer, is a citizen of the State of Indiana who resides in

    Hobart, Indiana.

           13.   Defendant, Menard, Inc., is incorporated in Wisconsin and maintains its

    principal business offices in Eau Claire, Wisconsin. Defendant regularly conducts

    business in Illinois and operates store locations in this state.

           14.    This Court has original, subject matter jurisdiction of this action under

    Wis. Stat. § 801.04.

           15.    Venue is proper in this Circuit Court pursuant to Wis. Stat. § 801.50

    because Menard's is based here and does substantial business here.

                            COMMON FACTUAL ALLEGATIONS

           A.     Menard's Omits and Conceals Material Facts About the Total Cost of
                  Purchases by Deceptively Tacking on an Add-on Fee to All Items.

           16.    Instead of raising the advertised prices of its individual items for sale

     on its website, Defendant began tacking on a$1.40 per item add-on fee to all items

     purchased by customers for pickup at each of their Menard's stores across the

     country. (Multiples of the same purchased item only incur a single fee, however).

           17.    By furtively adding a hidden add-on fee onto each item offered for sale

     on its website, Menard's unfairly obscured the true price of each item.

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          18.    Reasonable consumers like Plaintiff understand the advertised prices

    on the website are the true and complete prices for the products, exclusive of

    government-imposed taxes and discounts that a customer may be eligible for.

          19.    As the Los Angeles times reported, "`Hidden surcharges undermine

    consumers' ability to shop around for the best value for their money,' said Jenn

    Engstrom, state director for the California Public Interest Research Group."

          20.    Menard's' scheme prevented consumers from effectively comparison

    shopping.

          21.    Indeed, on its website, Menard's prominently advertises the price of all

    of its products. These price representations are important: as Menards knows, price

    is extremely important to consumers in choosing whether to buy a product or take

    their business elsewhere.

          22.    Unbeknownst to consumers, however, Menards quietly adds a$1.40 per

    item add-on fee to the total order amount.

          23.    The add-on fee is never reasonably disclosed to consumers until it shows

    up as a line item on their receipts—after the purchase is complete. This process fails

    to provide an adequate advance warning to customers that an add-on fee will be

    imposed on their purchases.

          B.     P1ai.ntifPs Egperience.

          24.    Plaintiff made a purchase of a can of paint online for pickup at a

    Menard's store located in Valparaiso, Indiana on Apri121, 2021. The can of paint cost

    $22.98, according to the website price listing.


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                  25.         Relying upon price displays provided on the website, Ms. Pilar

purchased the can of paint for pickup.

                  26.          Without her knowledge, she was actually charged $24.38 for the can of

paint.

                  27.          At no time prior to her purchase did Ms. Domer view any disclosure

informing her that a$1.40 add-on fee would be added to her purchase, or that her can

of paint would actually cost $24.38.

                   28.         The email receipt provided to her provides no such disclosure:

           _.~..__~.-._ ofyour
 Below is a.summary              order.
                         .__._.__~____._.__..__.__._ .... . _._...._.. _.___.. .__.....-.__...__...._.....—.~v_......_.._____ '     _. .___-..
 z Shipping  Group    1                                    ; VAI:PARAISO                                                        -`-
                                                                         351 SILHAVY RD                                                                                   i
              • Order #: VALP32776                                                                                                                                        t
              ~ P1ck Up At Store                                        ? VALPARAISO , IN 46383
 h                                                                                                                                                                        ,

 :                                    Oescriptlon                                        Quantity           ;            Status                        Price
          Plttsburgh Paints 8 Stains® Paramount® E~cterior                       i                                                           i
 i Flat Guacamoie Paint & Primer -1 qt.                                          4                                    Processed                       S22.98
                                                                                              1
          Model Number. GUACAMOLE_MEN7173-
'=4 —PA—EXT—FL—04
          .,...._ .:..~.r._..._____._...._-_..-,.......-,......._-W_ ._~..___....,~_.».....___ .,..__ _..:_—. w_,~.~..... . .. ......_~ ... _.._ _._,.._.._._ .,._ __.,
 ; Order Summary:                                                                              ;Payment Iniormation:3                                                     :
      Order Confinri'ation Number : 28832451                                                       Credit Card: V;sa                                                      !
      Order Date: 04I2212021                                                                   ~Billing -Address:
                                                                                                   PilakDorner                                                            '
 i Tr3nsaction11J:9120
 ~    Register ID: 78                                                                                                                                                     '
     Subtotal: $24.38                                                                                                                                                     ;
      Tax: $1.71                                                                                =
                                                                                               ~    Phone
     ~S       OrderTotal: $26.09
 ~~...----- --_-~___.__..-~..-~. ..._.._._.. _                   __.-- •-      —.__.,_,. _... ..._..._-_        --    -•---,-_. .r..> _..._._.---              ---            ~


                    29.         In fact, she did not know she was assessed such a fee until well after her

 purchase.

                    30.         Accordingly, at no time prior to her purchase did Ms. Domer realize that

 Menard's would furtively affix a price increase on her transaction.

                    31.          Had Ms. Dunham known that the add-on fee would be assessed on her

 purchase, she would not have agreed to pay the higher price.


                                                                                        C:
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                                CLASS ALLEGATIONS

      32.      Pursuant to Wis. Stat. § 803.08, Plaintiff brings this action on behalf of

herself and Classes of similarly situated persons defined as follows:

            Nationwide Class:

            All persons who, within the applicable statute of limitations,

            made an online purchase for pickup at a Menard's store and

            were charged a$1.40 per item add-on fee.

            Indiana Class:

            All persons in Indiana who, within the applicable statute of limitations,

            made an online purchase for pickup at a Menard's store and were charged

             a$1.40 per item add-on fee.

       33.      Excluded from the Classes are Defendant, any entities in which they

have a controlling interest, any of their parents, subsidiaries, affiliates, officers,

directors, employees, and members of such persons' immediate families, and the

presiding judge(s) in this case and their staff. Plaintiff reserves the right to expand,

limit, modify, or amend this class definition, including, without limitation, the

addition of one or more subclasses, in connection with her motion for class

 certification, or at any other time, based upon, inter alia, changing circumstances

 and/or new facts obtained during discovery.




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      34.     Numerosity: At this time, Plaintiff does not know the exact size of the

Classes; however, due to the nature of the trade and commerce involved, Plaintiff

believes that the Classes members are well into the thousands, and thus are so

numerous that joinder of all members is impractical. The number and identities of

Class members is administratively feasible and can be determined through

appropriate discovery in the possession of the Defendant.

      35.     Commona.lity: There are questions of law or fact common to the Classes,

including the following, without limitation:

         a.      Whether during the class period, Defendant deceptively engaged in

                 a bait-and-switch scheme with customers regarding its add-on fee

                 that it assessed on all purchases made for pickup in its Menard's

                 stores;

         b.      Whether during the class period, Defendant made material

                 omissions regarding its add-on fee;

         C.      Whether during the class period, Defendant failed to sufficiently

                 inform reasonable customers of its add-on fee;

         d.      Whether Defendant's alleged misconduct misled or had the tendency

                 to mislead customers;

         e.      Whether Defendant's alleged conduct constitutes violations of the

                 laws asserted;

         f.      Whether Plaintiff and the Classes were harmed by Defendant's

                 misrepresentations and omissions;


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            g.      Whether Plaintiff and the Classes have been damaged, and if so, the

                    proper measure of damages; and

            h.      Whether an injunction is necessary to prevent Defendant from

                    continuin.g to deceptively assess the add-on fee on customers'

                    purchases at its Menard's stores and/or to order Defendant to

                    sufficiently disclose to customers the add-on fee prior to making

                    their purchases.

      36.        Typicality: Like Plaintiff, many other customers made purchases at

Menard's stores without understanding that the add-on fee would be added to their

transactions. Plaintiff's claims are typical of the claims of the Classes because

Plaintiff and each Class member was injured by Defendant's false representations

and omissions about the add-on fee. Plaintiff and the Classes have suffered the same

or similar injury as a result of Defendant's false, deceptive, and misleading

representations. Plaintiff's claims and the claims of the Classes emanate from the

same legal theory, Plaintiff's claims are typical of the claims of the Classes, and,

therefore, class treatment is appropriate.

      37.        Adequacy of Representation: Plaintiff is committed to pursuing this

action and has retained counsel competent and experienced in prosecuting and

resolving consumer class actions. Plaintiff will fairly and adequately represent the

interests of the Classes and does not have any interests adverse to those of the

Classes.




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      38.    The Proposed Classes Satisfy the Prerequisites for Injunctive Relief:

Defendant has acted or refused to act on grounds generally applicable to the Classes,

thereby making appropriate final injunctive and equitable relief with respect to the

Classes as a whole. Plaintiff remains interested in making purchases at Menard's

stores in the future; there is no way for them to know when or if Defendant will cease

deceptively misrepresenting the true cost of each purchase transaction through

affixing the add-on fee.

      39.    Specifically, Defendant should be ordered to provide customers with

sufficient disclosures about the add-on fee prior to their decision to make purchases

at Menard's locations and not when it is too late for the customer to rescind their

purchase.

      40.    Defendant's ongoing and systematic practices make declaratory relief

with respect to the Class appropriate.

      41.    The Proposed Classes Satisfy the Prerequisites for Damages: The

common questions of law and fact enumerated above predominate over questions

affecting only individual members of the Classes, and a class action is the superior

method for fair and efficient adjudication of the controversy. The likelihood that

individual members of the Classes will prosecute separate actions is remote due to

the extensive time and considerable expense necessary to conduct such litigation,

especially when compared to the relatively modest amount of monetary, injunctive,

and equitable relief at issue for each individual Class member.




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                             FIRST CLAIlVI FOR RELIEF
               Violation of The Indiana Deceptive Consumer Sales Act
                   (On Behalf of Plaintiff and the Indiana Class).

       42.    Plaintiff repeats, realleges, and incorporates by reference each of the

foregoing paragraphs of this Complaint as if fully set forth herein.

       43.    The purposes and policies of the Indiana Deceptive Consumer Sales Act

(the "DCSA"), Indiana Code § 24-5-0.5-1 to -12, are to:

       l.     Simplify, clarify, and modernize the law governing deceptive and

              unconscionable consumer sales practices;

       2.     Protect consumers from suppliers who commit deceptive and

              unconscionable consumer sales practices; and

       3.     Encourage the development of fair consumer sales practice.

Ind. Code § 24-5-0.5-1(b).

       44.    The General Assembly has instructed courts to construe the DCSA

liberally to promote these purposes and policies. Ind. Code § 24-5-0.5-1(a).

       45.    Menard's is a"supplier" as defined in the DCSA because it is a seller or

other person who regularly engages in or solicits consumer transactions, which are

defined to include sales of personal property, services, and intangibles that are

primarily for a personal, familial, or household purpose, such as those at issue in this

action. Ind. Code § 24-5-0.5-2(1), (3).




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      46.     The DCSA provides that "[a] supplier may not commit an unfair,

abusive, or deceptive act, omission, or practice in connection with a consumer

transaction. Such an act, omission, or practice by a supplier is a violation of [the

DCSA] whether it occurs before, during, or after the transaction. An act, omission, or

practice    prohibited   by    this     section    includes      both   implicit    and   explicit

misrepresentations." Ind. Code § 24-5-0.5-3(a).

      47.     The DCSA further provides:

      Without limiting the scope of subsection (a) the following acts, and the

      following representations as to the subject matter of a consumer

       transaction, made orally, in writing, or by electronic communication, by

       a supplier, are deceptive acts:

              1.     That such subject            of a   consumer       transaction has

                     sponsorship,        approval,     performance,       characteristics,

                     accessories, uses, or benefits it does not have which the

                     supplier knows or should reasonably know it does not have.

               2.    That such subject of a consumer transaction is of a

                      particular standard, quality, grade, style, or model, if it is

                     not and if the supplier knows or should reasonably know

                      that it is not. . . .

 Ind. Code § 24-5-0.5-3.




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      48.    Menard's committed deceptive acts, including, but not limited to:

      a.     Misrepresenting prices, and

      b.     Covertly adding a$1.40 per item fee without adequate or fair

             disclosure.

      49.    Menard's violations were willful and were done as part of a scheme,

artifice, or device with intent to defraud or mislead, and therefore are incurable

deceptive acts under the DCSA.

      50.    The DCSA provides that "[a] person relying upon an uncured or

incurable deceptive act may bring an action for the damages actually suffered as a

consumer as a result of the deceptive act or five hundred dollars ($500), whichever is

greater. The court may increase damages for a willful deceptive act in an amount that

does not exceed the greater of: (i) three (3) times the actual damages of the consumer

suffering the loss; or (ii) one thousand dollars ($1,000). Ind. Code § 24-5-0.5-4(a).

       51.   The DCSA provides that "[a]ny person who is entitled to bring an action

under subsection (a) on the person's own behalf against a supplier for damages for a

deceptive act may bring a class action against such supplier on behalf of any class of

persons of which that person is a member....." Ind. Code § 24-5-0.5-4(b).

       52.    Had Plaintiff and members of the Indiana Class been aware that they

were going to be charged different prices than those listed on the website, Plaintiff

and members of the Indiana Class would not have entered into such transactions and

would not have incurred the additional fees.




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      53.      As a direct and proximate result of Defendant's unfair and deceptive acts

and practices in violation of the DCSA, Plaintiff and members of the Indiana Class

have paid more for Menard's produce than they should have and have suffered

monetary damages for which Defendant is liable.

      54.      Plaintiff and members of the Indiana Class seek actual damages plus

interest on damages at the legal rate, as well as all other just and proper relief

afforded by the DCSA. As redress for Defendant's repeated and ongoing violations,

Plaintiff and members of the Indiana Class are entitled to, interalia, actual damages,

treble damages, attorneys' fees, and injunctive relief.

                           SECOND CI,AIIVI FOR RELIEF
                         VIOLATION OF WIS. STAT. § 100.18
                        (On Behalf of Plaintiff and the Classes).

      55.      Plaintiff repeats, realleges, and incorporates by reference each of the

foregoing paragraphs of this Complaint as if fully set forth herein.

      56.      Defendant made representations to Plaintiff and members of the

putative Classes with the intent to induce an obligation, i.e., product prices listed on

its website.

      57.      The representations by Defendant, as stated above, were untrue,

deceptive, or misleading.

       58.     Plaintiff and members of the putative Classes did not discover

Defendant's untrue, deceptive, or misleading representations until after they had

made purchases.




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      59.     Defendant's misrepresentations materially caused pecuniary losses to

Plaintiff and members of the putative Classes.

                            THIRD CIAIlVI FOR RELIEF
                                 Breach of Contract
                             (Asserted on behalf of the Classes).

      60.     Plaintiff repeats, realleges, and incorporates by reference each of the

foregoing paragraphs of this Complaint as if fully set forth herein.

       61.    Plaintiff and Menard's have contracted for the sale and purchase of

consumer products, as embodied by Defendant's pricing representations made on its

website.

       62.    Defendant breached the terms of its contract with customers by

charging an additional $1.40 for each item purchased for pickup, over and above the

contracted for listed price of each item on the website

       63.    Plaintiff and members of the Class have performed all, or substantially

all, of the obligations imposed on them under the contract.

       64.    Plaintiff and members of the Class have sustained damages as a result

 of Defendant's breach of the contract.

                              FOUR,TH CI.AIlVI FOR RELIEF
                                    Unjust Enrichment
                             (Asserted on behalf of the Classes).

       65.     Plaintiff repeats, realleges, and incorporates by reference each of the

 foregoing paragraphs of this Complaint as if fully set forth herein.

        66.    This Count is brought solely in the alternative. Plaintiff acknowledges

 that the breach of contract claim cannot be tried along with unjust enrichment.


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      67.    To the detriment of Plaintiff and the Class, Defendant has been, and

continues to be, unjustly enriched as a result of its wrongful conduct alleged herein.

      68.    Defendant unfairly, deceptively, unjustly, and/or unlawfully seized and

accepted said benefits which, under the circumstances, would be unjust to allow

Defendant to retain.

      69.    Plaintiff and the Class, therefore, seek disgorgement of all wrongfully

obtained fees received by Defendant as a result of its inequitable conduct as more

fully stated herein.

                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiff on behalf of herself and the Classes seek judgment in

an amount to be determined at trial, as follows:

       a.     For an Order enjoining Defendant from continuing the unlawful

              practices set forth above;

       b.     For declaratory and injunctive relief as set forth above;

       C.     For an Order requiring Defendant to disgorge and make restitution of

              all monies it acquired by means of the unlawful practices set forth above;

       d.     For compensatory damages according to proof,

       e.     For punitive damages according to proof;

       f.     For reasonable attorneys' fees and costs of suit;

       g.     For pre-judgment interest; and

       h.     Awarding such other and further relief as this Court deerzls just, proper,

              and equitable.


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                               JURY DEMAND

   Plaintiff hereby demands a jury trial on all claims so triable.

   Dated this 14th. day of July, 2022.

                             HAWK..9 QUINDEL, S.C.
                             AttorneysforPlaintiffs and the proposed classes


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                             * Pro hac vice application to be filed

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